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                      UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS


State of Texas, et al.

v.                                               Case Number: 3:21−cv−00065

Joseph R Biden, Jr, et al.




                                 Notice of Setting

A proceeding has been set in this case as set forth below.

BEFORE:
Judge Jeffrey V Brown
LOCATION:
Sixth Floor Courtroom Galveston
United States Post Office and Courthouse
601 Rosenberg Street
Galveston, TX 77550


DATE: 12/8/2021
TIME: 02:00 PM
TYPE OF PROCEEDING: Motion Hearing

RE: Motion to Dismiss − #98


Date: October 22, 2021                                       Nathan Ochsner, Clerk
